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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

THE WINFIELD COLLECTION, LTD,                      ) Case No.
                                                   ) Hon.
            Plaintiff,                             )
      vs.                                          )
                                                   )
                                                   )
ABOVE AND BEYOND, INC, and MICHAEL                 )
CHAKLOS, jointly and/or severally,                 )
                                                   )
                                                   )
            Defendants.


 JOHN T. HERMANN (P-52858)
 Attorney for Plaintiff
 2684 West Eleven Mile Road
 Berkley, MI 48072
 (248) 591-9291


                          PLAINTIFF’S COMPLAINT
      Plaintiff, THE WINFIELD COLLECTION, LTD. a Michigan Corporation,

by and through its counsel, John T. Hermann states the following as its complaint

against Defendants ABOVE AND BEYOND, INC. and MICHAEL CHAKLOS:

      1.     This matter arises under the United States Copyright Act of 1976, as

amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

      2.    Plaintiff, The Winfield Collection, Ltd. (“Winfield”) is a Michigan

Corporation and is the registered owner of the copyrights set forth on Exhibit A

(the “Copyright-in-Suit.”)


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      3.     Defendant ABOVE AND BEYOND, INC. (“Above and Beyond”) is

a California corporation located in Santa Ana, California, that is selling and

distributing Plaintiff’s copyrighted materials and/or derivative works         and is

therefore infringing upon      Plaintiff’s rights as the registered owner of the

Copyright-in-Suit.

      4.     As a result of its systematic business activities in selling and

distributing Plaintiff’s copyrighted materials and/or derivative works, Defendant

Above and Beyond has infringed upon Plaintiff’s rights as the registered owner of

the Copyrights-in-Suit.

      5.     Defendant MICHAEL CHAKLOS (“Mr. Chaklos) is an individual

who lives and resides in the state of California and who is in the business of selling

and distributing Plaintiff’s copyrighted materials and/or derivative works and is

therefore infringing upon Plaintiff’s rights as the registered owner of the

Copyrights-in-Suit.

      6.     As a result of his systematic business activities in selling and

distributing Plaintiff’s copyrighted materials and/or derivative works, Defendant

Mr. Chaklos has infringed upon Plaintiff’s rights as the registered owner of the

Copyrights-in-Suit.




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                                  JURISDICTION

         7.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1331 (federal question); and 28 U.S.C. § 1338 (patents, copyrights,

trademarks and unfair competition).

         8.    Using an internet web site (i.e. Amazon.com) Defendants marketed

and sold a silhouetted nativity layout which is an unauthorized duplication and/or

derivative work of Plaintiff’s copyrighted design image. Defendants activities in

marketing and selling unauthorized duplication and/or derivative work of

Plaintiff’s copyrighted design image constitutes commercial activity that is

directed towards individuals and/or business located in this state and District.

         9.    This Court has personal jurisdiction over the Defendants because (a)

Defendants committed the tortious conduct alleged in this Complaint in this State,

and (i) Defendants targeted business activities can be found in this State and/or

(ii) Defendant has engaged in substantial and not isolated business activity in this

State.

         10.     Venue is proper in this District pursuant to 28 U.S.C. § 1400(a) as

well as 28 U.S.C. § 1391(b) because: (i) a substantial part of the events or

omissions giving rise to the claims occurred in this District and, (ii) the

Defendants general business activities can be found in this District.


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                                     BACKGROUND

          11.     Winfield is in the business of mail order and internet sales of

woodcraft patterns and supplies. A substantial portion of Winfield’s business is the

development and sale of patterns for wooden outdoor displays. Patterns sold by

The Winfield Collection are almost exclusively their own original designs and are

registered with the Federal Copyright office.

          12.      The patterns are normally used by purchasers to cut pieces of wood

and assemble them as projects for display as indicated on the patterns, under a

limited license and/or agreement from Winfield to make available or allow non-

commercial derivative works in the form of projects - photographs of finished

products are included on the patterns.

          13.      Winfield routinely allows other commercial outfits to market and/or

sell original and/or derivative versions of its copyrighted design images through

appropriate licensing agreements. Licensed commercial derivatives of Winfield’s

are widely available on the internet.

          14.     One online outfit which has been authorized and licensed to Plaintiff’s

copyrighted images and/or derivative works is a company known as Teak Isle

which markets and/or sells products depicting Plaintiff’s copyrighted images

and/or derivative works through its commercial website. 1

1
    www.teakisle.com.
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         15.      In 2013, Defendants marketed, developed, and began offering for sale

a competing nativity layout after reviewing and comparing their design with a

licensed version of Plaintiff’s copyrighted design image that was being marketed

and/or offered for sale by Teak Isle.2

         16.      In 2015, Defendants were notified that their nativity layout was

infringing upon Plaintiff’s intellectual property rights as the registered owner of the

Copyright-in-Suit. In response to Plaintiff’s notification of their interest in the

copyrighted design image, Defendants developed a new nativity layout after

consulting with Winfield and attempting to differentiate its re-designed layout with

Winfield copyrighted design image.

         17.      As a result, Defendants had access to Plaintiff’s copyrighted design

images and/or licensed versions at the time that they developed their original

nativity layout and subsequently re-designed nativity layout.

         18.      In 2016, Defendants began marketing and/or selling their re-designed

nativity layout over third-party website. (i.e. Amazon.com) without authorization

or permission of Plaintiff




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  In addition to having access to the Teak Isle design (a licensed version of Plaintiff’s original design) Defendants
had independent access to Plaintiff’s original design as it was a ubiquitously prominent in the commercial
marketplace for the past 20 years having appeared millions of times, in catalogs, magazines, and internet sites – the
same sites and/or locations upon which Defendant viewed prior developing their infringing derivative work.

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      19.   Defendants have been and continue to sell their nativity layout over

the internet (i.e. Amazon.com) which is unauthorized reproduction and/or

derivative of Winfield’s copyrighted Silent Night Nativity #CYD72 design pattern

image. A comparison of the derivative works produced and sold by Defendants to

Plaintiffs copyrighted design patterns are shown below:




     Winfield #CYD72            Above and Beyond               Above and Beyond
                                 Original Layout              Re-Designed Layout

      20.   For all relevant times, Winfield is the owner of all right, title and

interest to the copyrights for the Silent Night Nativity #CYD72 design pattern

image.

                              COUNT I
                   DIRECT COPYRIGHT INFRINGMENT

      21.   Winfield’s design patterns identified as Silent Night Nativity

(#CYD72) represents a work of artistic expression that contains original material

which is copyrightable under the laws of the United States.




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       22.    Defendants reproduced, distributed, promoted, sold and offered for

sale illegal and unauthorized copies, including derivative works, of Plaintiff’s

design patterns thereby infringing upon Winfield ‘s copyrights in and relating to

the subject works.

       23.    Plaintiff did not authorize permit, or consent to the duplication and/or

distribution of its works in the manner, form, and/or scope perpetuated by

Defendants.

       24.    As a result of the foregoing, Defendant violated Plaintiff’s exclusive

right to:

              (A)    Reproduce the Works in copies, in violation of 17 U.S.C. §§

                     106(1) and 501;

              (B)    Prepare derivative works in violation of 17 U.S.C. §§ 106(2)

                     and 501;

              (C)    Redistribute copies of the Works to the public by sale or other

                     transfer of ownership, or by rental, lease in violation of 17

                     U.S.C. §§ 106(3) and 501;

              (D)    Reproduce and/or display copies of pictorial or other graphic

                     works in violation of 17 U.S.C. §§ 106(5) and 501.

       25.    Each of the Defendants acts of infringement was committed

“willfully” within the meaning of 17 U.S.C. § 504.
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      26.      Plaintiff has suffered actual damages that were proximately caused

by the Defendant including lost sales, price erosion and a diminution of the value

of its copyrights.

      WHEREFORE, Plaintiff respectfully requests that the Court:

      (A)      Permanently enjoin the Defendants and all other persons who are in

active participation with the Defendants from continuing to infringe upon

Plaintiff’s copyrighted works.

      (B)      Order that the Defendants delete and remove from its website or any

third-party website any depiction of Plaintiff’s copyrighted works along with the

destruction of any infringing materials under 17 U.S.C. § 503

      (C)      Award Plaintiff the greater of: (i) statutory damages of $150,000 per

infringed Work pursuant to 17 U.S.C. § 504-(a) and (c); or (ii) Plaintiff’s actual

damages and any additional profits of the Defendants pursuant to 17 U.S.C.§ 504-

(a) and (b);

      (D)      Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

U.S.C. § 505; and

      (F)      Grant Plaintiff any other and further relief this Court deems just and

proper.




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                            COUNT II
               CONTRIBUTORY COPYRIGHT INFRINGMENT

       27.    The allegations contained in paragraphs 1-26 are hereby re-alleged as

if fully set forth herein.

       28.    Winfield design patterns identified as Silent Night Nativity (#CYD72)

represents a work of artistic expression that contains original material which is

copyrightable under the laws of the United States.

       29.    By encouraging others to engage in the unlawful duplication and/or

distribution of Plaintiff’s copyrighted works Defendants induced, caused, and/or

materially contributed to the infringing conduct of other individuals and/or

organizations in violation of Plaintiff’s exclusive rights.

       30.    Plaintiff did not authorize, permit or consent to Defendants’ inducing,

causing or materially contributing to the infringing conduct of other individuals

and/or organizations.

       31.    Defendants knew or should have known that by encouraging other

individuals and/or business to feature Plaintiffs design images on various web sites

that other individuals and/or business chapters would engage in the unauthorized

reproduction and/or duplication of Plaintiff’s copyrighted work.

       32.    Indeed, Defendants directly participated in and therefore materially

contributed to the infringing conduct of other individuals and/or organizations.


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      33.      The Defendants’ contributory infringement was committed “willfully”

within the meaning of 17 U.S.C. § 504(c)(2)

      34.      Plaintiff has suffered actual damages that were proximately caused by

the Defendant including lost sales, price erosion and a diminution of the value of

its copyrights.

      WHEREFORE, Plaintiff respectfully requests that the Court:

      (A)      Permanently enjoin the Defendants and all other persons who are in

active participation with the Defendants from and remove from its website or any

third-party website any depiction of Plaintiff’s copyrighted works along with the

destruction of any infringing materials under 17 U.S.C. § 503

      (C)      Award Plaintiff the greater of: (i) statutory damages of $150,000 per

infringed Work pursuant to 17 U.S.C. § 504-(a) and (c); or (ii) Plaintiff’s actual

damages and any additional profits of the Defendants pursuant to 17 U.S.C. § 504-

(a) and (b);

      (D)      Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17

U.S.C. § 505; and

      (F)      Grant Plaintiff any other and further relief this Court deems just and

proper.




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                          DEMAND FOR A JURY TRIAL

        Plaintiffs hereby demands a trial by jury in connection with its claims in the

above captioned case all issues so triable


 Dated: February 22, 2017                     /s/ John T. Hermann
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                                              (P-52858)



                        CERTIFICATE OF COMPLIANCE

        Pursuant to E.D. Mich. LR 5.1(a) I hereby certify that the foregoing has been

prepared using one of the font and point selections approved by the Court in E.D.

Mich. LR 5.1(a)(3). This document was prepared using Times New Roman (14

pt.).


 Dated: February 22, 2017                         /s/ John T. Hermann
                                                  JOHN T. HERMANN (P-52858)




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